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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA, and                 )
 THE STATE OF ILLINOIS,                        )
                                               )
        Plaintiffs,                            )
                                               )
 v.                                            )       Case Number: 24-2592
                                               )
 THE CITY OF EAST ST. LOUIS,                   )
 ILLINOIS                                      )
                                               )
        Defendant.                             )

              CONSENT MOTION SEEKING TO EXTEND THE DEADLINES
                IN THE ORDER ADOPTING THE JOINT REPORT AND
                 PROPOSED SCHEDULING AND DISCOVERY ORDER

        1.      Plaintiffs, the United States of America (“United States”), on behalf of the

 Environmental Protection Agency (“EPA”), and the State of Illinois, on behalf of the Illinois

 Environmental Protection Agency, file this Motion to extend by six months the deadlines in the

 Order Adopting the Joint Report and Proposed Scheduling and Discovery Order for two reasons.

        2.      First, the United States recently installed several flow rate monitors at key locations

 within the City of East St. Louis’ (“City”) combined sewer system, with agreement from the City.

 These monitors will provide much needed data that will assist the parties and the Court in resolving

 the issues alleged in the Complaint. This real-time data allows the parties to obtain more

 information about the causes and effects of the overflows of the City’s combined sewer system.

 The United States contends that the parties’ positions on injunctive relief will become sharper and

 more refined as the monitors continue to collect data.

        3.      Second, three of the government attorneys working on this case (both attorneys

 from the Department of Justice and the senior attorney for the Environmental Protection Agency)

 recently departed from federal service or will be doing so imminently. While the new case team is

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 taking on information as quickly as possible, the United States seeks an extension to allow the new

 case team to better familiarize themselves with the case and, hopefully, narrow issues for this Court

 before trial.

         4.      Counsel for the City orally consented to the United States’ request for an extension.

                                             ARGUMENT

 I.      The Flow Rate Monitors

         5.      In May 2022, EPA and the City entered into an Administrative Order on Consent to

 address the City’s failure to comply with certain requirements of its National Pollutant Discharge

 Elimination System permit. The Administrative Order on Consent required the City to, among

 other things, start monitoring combined sewer overflows.

         6.      As alleged in the Complaint and admitted in its Answer, the City never installed the

 equipment needed to monitor combined sewer overflows. See Complaint (ECF No. 1 at ¶116) and

 Answer (ECF No. 14 at ¶116). So, the United States installed flow rate monitors at critical locations

 within the City’s combined sewer system on May 13-15, 2025.

         7.      These monitors will provide the United States and the City real-time access to the

 sewer system’s flow rate and other information that will allow the parties to better understand the

 City’s combined sewer system. In turn, that information will help the parties evaluate solutions to

 the problems identified in the Complaint.

         8.      It is clear, based on the City’s Answer, that the City is missing critical information

 – both as it relates to the operation of its sewer system and the frequency of the alleged violations.

 See, e.g., Complaint (ECF No. 1 at ¶117) (“As a result of the lack of monitoring, [Discharge

 Monitoring Reports] submitted for Outfalls 001, 002, and 003 do not contain the required

 information on [combined sewer overflow] events.”) and Answer (ECF No. 14 at ¶117) (“The City



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 of East Saint Louis admits the allegations contained in paragraph 117 of Plaintiffs’ Complaint.”).

 These monitors help both sides close knowledge gaps about the City’s sewer system.

        9.      The requested six-month extension will allow the parties to collect nearly a year’s

 worth of data on the flow rate, frequency of combined and sanitary sewer discharges, and other

 relevant information before the proposed close of fact discovery.

        10.     The United States and State of Illinois believe that expert analysis and the parties’

 ability to formulate or refute targeted injunctive relief hinges in part on this data and an

 understanding of the scope of the discharges of combined sewage into local waterways.

 II.    The Case Team

        11.     The Department of Justice attorneys assigned to this case when the Complaint was

 filed left federal employment within the last 3 months. Unfortunately, with their departure, a

 combined nearly five years of knowledge about this case is no longer available. The United States

 quickly restaffed the trial team, which is working to get up to speed but that will take time given

 their assignments on other matters. Moreover, the senior EPA attorney, who has worked on this

 case since EPA began investigating this matter more than four years ago, is also retiring this month.

        12.     The City is not prejudiced by the requested extension. There are no outstanding

 discovery requests. More importantly, the extension gives the new case team time to gather data,

 and review years of case notes and information about the City’s sewer system. Further, the

 knowledge gained during the extension will hopefully help the new case team avoid discovery

 disputes and foster a less adversarial relationship with the City during the discovery process.

        13.     In the end, the United States contends that this extension benefits all parties by

 giving everyone vital information on what appears to be the most important issue in this case –

 appropriate injunctive relief.



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                                            CONCLUSION

        For the above stated reasons, the United States respectfully requests the Court enter an

 Order extending by six months the deadlines set in the Order Adopting the Joint Report and

 Proposed Scheduling and Discovery Order and for such other and further relief as this Court deems

 appropriate.

 Date: June 9, 2025                          FOR THE UNITED STATES OF AMERICA:

                                             ADAM R.F. GUSTAFSON
                                             Acting Assistant Attorney General
                                             Environment and Natural Resources Division
                                             United States Department of Justice

                                             /s/Matthew Indrisano
                                             KRISTIN FURRIE
                                             MATTHEW INDRISANO
                                             Environmental Enforcement Section
                                             Environment and Natural Resources Division
                                             United States Department of Justice
                                             P.O. Box 7611
                                             Washington, D.C. 20044
                                             Telephone: (202) 202-616-6515 (Furrie)
                                             Telephone: (202) 514-1398 (Indrisano)
                                             Email: Kristin.Furrie@usdoj.gov
                                             Email: Matthew.Indrisano@usdoj.gov

                                             STEVEN D. WEINHOEFT
                                             United States Attorney
                                             Southern District of Illinois

 OF COUNSEL:

 JOLIE MCLAUGHLIN
 Associate Regional Counsel
 United States EPA, Region 5
 Chicago, IL 60604
 COLIN HUGHES
 Water Enforcement Division
 Office of Civil Enforcement
 Office of Enforcement and Compliance Assurance
 United States EPA
 Washington, DC 20460

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                                         FOR THE STATE OF ILLINOIS:
                                         PEOPLE OF THE STATE OF ILLINOIS,
                                         ex rel. KWAME RAOUL, Attorney
                                         General of the State of Illinois,

                                         MATTHEW J. DUNN, Chief
                                         Environmental Enforcement/
                                         Asbestos Litigation Division

                                         RACHEL R. MEDINA, Chief
                                         Environmental Bureau
                                         Assistant Attorney General
                                         ARDC # 6297171


 OF COUNSEL:

 Christina Briggs # 6327367
 Caitlin Kelly # 6340850
 Assistant Attorneys General
 Environmental Bureau
 Illinois Attorney General’s Office
 500 South Second Street
 Springfield, Illinois 62706
 Phone: (217) 557-0586
 christina.briggs@ilag.gov
 caitlin.kelly@ilag.gov




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                               CERTIFICATE OF SERVICE

        I, Matthew Indrisano, hereby certify that on June 9, 2025, I electronically filed with
 the Clerk of the Court the Consent Motion Seeking to Extend the Deadlines in the Order
 Adopting the Joint Report and Proposed Scheduling and Discovery Order using the CM/ECF
 system, which will send notification of such filing to all registered users in the case.


 Date: June 9, 2025                        /s/Matthew Indrisano
                                           Matthew Indrisano
                                           Environmental Enforcement Section
                                           Environment and Natural Resources Division
                                           United States Department of Justice
                                           P.O. Box 7611
                                           Washington, D.C. 20044
                                           Telephone: (202) 514-1398
                                           Email: Matthew.Indrisano@usdoj.gov




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